       Case 2:25-cv-01963-MEF-MAH           Document 340 Filed 07/07/25                Page 1 of 1 PageID:
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                                        UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY
                                           MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                                  DATE: July 7, 2025
JUDGE MICHAEL E. FARBIARZ
COURT REPORTER: Lisa Larsen

TITLE OF CASE:                                                  DOCKET # 25-CV-1963 (MEF)

MAHMOUD KHALIL
           v.
WILLIAM P. JOYCE, ET AL.

APPEARANCES:

Ramzi Kassem, Esq. for Petitioner
Alanna Thanh Duong, Esq for Respondents


NATURE OF PROCEEDINGS:
Status Conference held via Telephone Conference re: Petitioner’s letter ECF [332].
Parties are directed to file on the court docket by July 9, 2025, at 9 a.m. letters regarding any developments
in Immigration case. A briefing schedule may or may not be set at that time.

Time Commenced: 10:43 a.m.
Time Adjourned: 11:18 a.m.
Total Time: 35 minutes


                                                                        s/Ivannya Fitzgerald
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